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                    UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION
                                   1:21-mi-55555-JPB
                            IN RE GEORGIA SENATE BILL 202
                                  Honorable J. P. Boulee

                   Minute Sheet for proceedings held In Open Court on 09/22/2023.


   TIME COURT COMMENCED: 8:30 A.M.
   TIME COURT CONCLUDED: 6:35 P.M.                  COURT REPORTER: Penny Coudriet
   TIME IN COURT: 9:00                              DEPUTY CLERK: Jennifer Lee
   OFFICE LOCATION: Atlanta

ATTORNEYS          James Banter representing Clarke County Board of Election and Voter
PRESENT:           Registration
                   James Banter representing Adam Shirley
                   James Banter representing Ann Till
                   James Banter representing Charlotte Sosebee
                   James Banter representing Hunaid Qadir
                   James Banter representing Rocky Raffle
                   James Banter representing Willa Jean Fambrough
                   H. Bartolomucci representing The Georgia State Election Board
                   H. Bartolomucci representing The State of Georgia
                   H. Bartolomucci representing Brad Raffensperger
                   H. Bartolomucci representing Brian Kemp
                   H. Bartolomucci representing Edward Lindsey
                   H. Bartolomucci representing Janice W. Johnston
                   H. Bartolomucci representing Matthew Mashburn
                   H. Bartolomucci representing Sara Tindall Ghazal
                   Jordan Bell representing Columbia County Board of Elections
                   Jordan Bell representing Columbia County Board of Registrars
                   Jordan Bell representing Ann Cushman
                   Jordan Bell representing Larry Wiggins
                   Jordan Bell representing Nancy L. Gay
                   Jordan Bell representing Wanda Duffie
                   Kristin Bloodworth representing Hall County Board of Elections and Registration
                   Kristin Bloodworth representing Craig Lutz
                   Kristin Bloodworth representing David Kennedy
                   Kristin Bloodworth representing Gala Sheats
                   Kristin Bloodworth representing Jack Noa
                   Kristin Bloodworth representing Johnny Varner
                   Kristin Bloodworth representing Ken Cochran
                   Kristin Bloodworth representing Lori Wurtz
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       Kristin Bloodworth representing Tom Smiley
       Brad Bowman representing Keith Gammage
       Gilbert Dickey representing Georgia Republican Party, Inc.
       Gilbert Dickey representing National Republican Congressional Committee
       Gilbert Dickey representing National Republican Senatorial Committee
       Gilbert Dickey representing Republican National Committee
       Gilbert Dickey representing The Republican National Committee
       Baxter Drennon representing Georgia Republican Party, Inc.
       Baxter Drennon representing National Republican Congressional Committee
       Baxter Drennon representing National Republican Senatorial Committee
       Baxter Drennon representing Republican National Committee
       Baxter Drennon representing The Republican National Committee
       Rachel Evans representing The United States of America
       Tania Faransso representing Delta Sigma Theta Sorority, Inc.
       Tania Faransso representing Georgia Adapt
       Tania Faransso representing Georgia Advocacy Office
       Tania Faransso representing Sixth District of the African Methodist Episcopal
       Church
       Tania Faransso representing Southern Christian Leadership Conference
       Brian Field representing The Georgia State Election Board
       Brian Field representing The State of Georgia
       Brian Field representing Brad Raffensperger
       Brian Field representing Edward Lindsey
       Brian Field representing Janice W. Johnston
       Brian Field representing Matthew Mashburn
       Brian Field representing Sara Tindall Ghazal
       Matthew Fogelson representing Exousia Lighthouse International C.M., Inc.
       Matthew Fogelson representing Faith in Action Network
       Matthew Fogelson representing First Congregational Church, United Church of
       Christ Incorporated
       Matthew Fogelson representing Georgia Latino Alliance for Human Rights, Inc.
       Matthew Fogelson representing Greater Works Ministries Network, Inc.
       Matthew Fogelson representing Metropolitan Atlanta Baptist Ministers Union, Inc.
       Matthew Fogelson representing The Concerned Black Clergy of Metropolitan
       Atlanta, Inc.
       Matthew Fogelson representing The Justice Initiative, Inc.
       Julie Houk representing Common Cause
       Julie Houk representing Galeo Latino Community Development Fund, Inc.
       Julie Houk representing Georgia Coalition for the People's Agenda, Inc.
       Julie Houk representing Georgia State Conference of the NAACP
       Julie Houk representing League of Women Voters of Georgia, Inc.
       Julie Houk representing Lower Muskogee Creek Tribe
       Sejal Jhaveri representing The United States of America
       David Lowman representing Fulton County Registration and Elections Board
       David Lowman representing Aaron Johnson
       David Lowman representing Cathy Woolard
       David Lowman representing Kathleen Ruth
       David Lowman representing Mark Wingate
       David Lowman representing Teresa Crawford
       Rachel Mack representing Richmond County Board of Elections
       Rachel Mack representing Issac McAdams
       Rachel Mack representing Marcia Brown
       Rachel Mack representing Sherry T. Barnes
       Rachel Mack representing Terence Dicks
       Rachel Mack representing Tim McFalls
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       Rachel Mack representing Travis Doss
       Grace Martin representing Bibb County Board of Elections
       Grace Martin representing Bibb County Board of Registrars
       Grace Martin representing Darius Maynard
       Grace Martin representing Herbert Spangler
       Grace Martin representing Joel Hazard
       Grace Martin representing Karen Evans-Daniel
       Grace Martin representing Mike Kaplan
       Grace Martin representing Robert Abbott
       Grace Martin representing Thomas Ellington
       Grace Martin representing Thomas Gillon
       Grace Martin representing Veronica Seals
       Ernest McFarland representing The United States of America
       Sandy Milord representing Fulton County Registration and Elections Board
       Sandy Milord representing Aaron Johnson
       Sandy Milord representing Kathleen Ruth
       Sandy Milord representing Mark Wingate
       James Rich representing The United States of America
       John Russ representing The United States of America
       Elizabeth Ryan representing The United States of America
       Gene Schaerr representing Georgia State Election Board
       Gene Schaerr representing The Georgia State Election Board
       Gene Schaerr representing The State of Georgia
       Gene Schaerr representing Brad Raffensperger
       Gene Schaerr representing Brian Kemp
       Gene Schaerr representing Edward Lindsey
       Gene Schaerr representing Gregory W. Edwards
       Gene Schaerr representing Janice W. Johnston
       Gene Schaerr representing Matthew Mashburn
       Gene Schaerr representing Sara Tindall Ghazal
       Heather Szilagyi representing Common Cause
       Heather Szilagyi representing Galeo Latino Community Development Fund, Inc.
       Heather Szilagyi representing Georgia Coalition for the People's Agenda, Inc.
       Heather Szilagyi representing Georgia State Conference of the NAACP
       Heather Szilagyi representing League of Women Voters of Georgia, Inc.
       Heather Szilagyi representing Lower Muskogee Creek Tribe
       Jonathan Topaz representing Delta Sigma Theta Sorority, Inc.
       Jonathan Topaz representing Georgia Adapt
       Jonathan Topaz representing Georgia Advocacy Office
       Jonathan Topaz representing Sixth District of the African Methodist Episcopal
       Church
       Jonathan Topaz representing Southern Christian Leadership Conference
       Edward Trent representing Brad Raffensperger
       Edward Trent representing Brian Kemp
       Edward Trent representing Edward Lindsey
       Edward Trent representing Janice W. Johnston
       Edward Trent representing Matthew Mashburn
       Edward Trent representing Sara Tindall Ghazal
       Bryan Tyson representing Georgia State Election Board
       Bryan Tyson representing The Georgia State Election Board
       Bryan Tyson representing The State of Georgia
       Bryan Tyson representing Brad Raffensperger
       Bryan Tyson representing Brian Kemp
       Bryan Tyson representing Edward Lindsey
       Bryan Tyson representing Gregory W. Edwards
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                      Bryan Tyson representing Janice W. Johnston
                      Bryan Tyson representing Matthew Mashburn
                      Bryan Tyson representing Sara Tindall Ghazal
                      George Varghese representing Delta Sigma Theta Sorority, Inc.
                      George Varghese representing Sixth District of the African Methodist Episcopal
                      Church
                      Daniel White representing Cobb County Board of Elections and Registration
                      Daniel White representing Charles Dave
                      Daniel White representing Don DiStefano
                      Daniel White representing Janine Eveler
                      Daniel White representing Jennifer Mosbacher
                      Daniel White representing Jessica M. Brooks
                      Daniel White representing Karen Murray
                      Daniel White representing Pat Gartland
                      Daniel White representing Stephen F. Bruning
                      Daniel White representing Steven Bruning
                      Daniel White representing Tori Silas
                      Daniel White representing Zurich Deshazior
                      Conor Woodfin representing Georgia Republican Party, Inc.
                      Conor Woodfin representing National Republican Congressional Committee
                      Conor Woodfin representing National Republican Senatorial Committee
                      As well as other individual case participants via Zoom audio.
PROCEEDING
CATEGORY:             Motion Hearing(PI or TRO Hearing-Evidentiary);
MINUTE TEXT:          The Court conducted an evidentiary hearing on the [566] Motion for Preliminary
                      Injunction. Plaintiffs' witnesses Senator Harold Jones, Dr. Barry Burden, Helen
                      Lockette (via video deposition) and Mark Burns testified.             Defendants'
                      witnesses Ryan Germany and Dr. Justin Grimmer testified. Plaintiffs'
                      exhibits 1-5 were admitted without objection. After Defendant moved to
                      exclude the declaration of Ms. Lockett, the United States agreed to withdraw it.
                      The Court will take the [566] Motion under advisement and issue an order after
                      further review.
HEARING STATUS:       Hearing Concluded
EXHIBIT STATUS:       Exhibits retained by the Court to be forwarded to the Clerk's Office.
